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      FRONTIER                Your Employee
                              Handbook
                              & Policy Guide




                                 FRONTIER AIRLINES (R. BRIGHAM) - 0000246


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                                         RECORD OF REVISIONS
              As revisions are received, post them as directed and sign off the boxes
              correspon ding to the revision number.




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                        RECORD OF TEMPORARY REVISIONS
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        Whe.n instructed to remove the temporary revision, record the Date
        Removed and your initials next to each appropriate revision number.
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           Revisions page, printed on yellow paper will be supplied. Retain the

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                                               'EXECUTIVE STATEMENT
                                                                                                                             I
           01.05.1 WELCOME TO FRONTIER


           Welcome to Frontier Airlines! As an ultra-low cost carrier, we provide consumers wnh choices, We offer a low base fare,
           and let our cu·stomers select the amenhies that are important to them. Since our customers pay only for the product and
           services they actually use, we off'er the best travel value in the industry,

           We should thin~ of each customer as a guest on out airc'<!ft. We li!!l!!n, take care of them Wh!!n there is a problem, and
           always treat them with respect. Of course our primary mission is to ensure the safety of our guests and employees.
           Passengers want to be safely delivered to their destin11tion, on time and with bags, while receiving consistent, friendly and
           professional customer service every time they Jly With us.

           Frontier is not just about the animals on our tails, It's about our employees, who are the very best and most professional In
           the Industry. At Frontier, We are not Just employees; we are a fam~y and a team. We support and treat each other With
           dig_nhy and respect. Working together, we can make a difference as we safely and reliably transport our passengera to
           their destination.

           We offer a unique product - safety, rellabilit}'. choice. customer service and great employees, which equals great value for
           ourguasts.

           Welcome to .the Frontier team!

           Sincerely.




           David Siegel
           Ctliaf Exeoutive Offloer




          Rev17 02/19/14                                                                               Executive Statement



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       01.05.2 EXECUTIVE STATEMENT ON SAFETY

        Frontier Airlines Executive Statement on
        Safety
        Since Frontier Airlines began operating on July 5, 1994, there has been one underlying principle ihat has
        consisieritly guided our course. operate efficienily while exceeding the highest safety standards in the
        ltilnspOrt<ttoOo mdustfy
        Frontier is oommitted lo the hfghest safetY standards in our operation When we say that our first fundamenl:il!
        iS safety. we mean ti. People are pr/ce/~s.
        Our first fundamental - Safety is the rust priority and responsibility or every Frontier employee, 'Nhatever our
        job happens to be. We must never put at risk the lives or our customers, team members or anyone else. We
        must always.act consistently wrth our pnmary commrtment to safety.

        It doesn't matter how good our on-time performance is or how much our customers love our service - if we
        aren't providing them with the highest level of safety every hme they fly, we've railed,

        The Chier Executive Offteer (CEO) has the ulbmate responsibility for the safety of Frontier's customers and
        employees We will ensure that the necessary resources are committed throughout the orgamzation to
        develop, maintain, and oont,nuagy 1111prove our safety culture,

        One key element or improving safety is the implementation or a Safety Management System (SMS). Frontier is
        committed to 1mplementmg and mamtaimng a successful SMS This program w1'1 provide Frontier with the
        framework for developing a system to ensure that hazards and risks are idenbfled. managed, and mitigated or
        eliminated It will reqmre the commitment of all employees at all levels. 1nctud1ng me and all of Fronber's senior
        leadership. Part of SMS is to set goals and objectives for safety improvement, document the procedures used
        to achieve those objectives, and penodically review and update those objec11Ves. This mcludes providing you
        v.tth a clear explanation of your rote at Frontier, as welt as the expectations or acceptable v.orkptace
        performance.

        We are committed to complymg with alt local, state and federal regutatJons applicable to our Industry, as well
        as tile 1ntemati0nal standardS of the lnternat,onat CMI AviatiOn Organizabon (ICAO), These regulaborts are
        designed to provide the minimum acceptable level of safety. but it 1s our mtention to go far beyond regulatory
        requirements

        To assist in improving safety, Frontier has developed a number or ways in which employees can report safety
        JSsues 1ncludmg incident reports, fabgue reports, Aviation Safety Action Program (ASAP) reports, and a phone-
        in safety hotline. New reporting tools will be rolled out in the future to make It even easier to report and
        communicate safety concerns without fear of any repnsal. I encourage you to uses these tools <to report safety
        1$5Ues so that we can work together lo fo< them.

        Commun1cat1on is a t!No-way streeL We wrn periodically update you with current safety related events and
        review our processes to ensure l.\e are meeting safety objectives Look for your managers to continually
        emphasize their support of our safety objectives, aswen
                                                             as update you on progress that we are maklng

        With your continued support, we will work together to bulld an orgamzabon in Wh1oh every employee 1s a safety
        officer and achieve the high standards we have set for this airline

        Sincerely,




        David Siegel
        Chief Executive Officer




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                                       INTRODUCTION
                                                                                I
           02.05.1 RESPONSIBILITY AND AUTHORITY
           The Frontier Vice President, Human Resources & Labor Relations is
           responsible for the overall quality and has final authority for Frontier's
           Employee Handbook and the processes contained within. This individual
           has the authority, to the fullest extent set forth in the Vice President,
           Human Resources & Labor Relations job description, to take any lawful
           steps necessary to ensure compliance with the requirements set forth in
           this handbook.
           The qualifications and work experience requirements for the Frontier Vice
           President, Human Resources & Labor Relations are contained in the job
           description filed with the Human Resources Department.


           02.05.2 PURPOSE
           This handbook is designed to acquaint you with Frontier and provide
           information about working at Frontier. The handbook is not all-inclusive,
           but is intended to provide you wfth a summary of some of Frontier's
           guidelines. This edition replaces all previously issued editions. For
           continuous updates of this manual check Frontier's intra net.
           No employee handbook can anticipate every circumstance or question.
           After reading the handbook, if you have questions please talk with your
           immediate supervisor or Human Resources. Also, the need may arise to
           change the guidelines described in the handbook. Frontier reserves the
           right to interpret or change any guidelines or policies without prior notice.
           If a policy in this section conflicts with a provision of a Collective
           Bargaining Agreement (CBA) or Departmental Guideline, the provisions in
           the CBA or Departmental Guideline will be followed . Departmental
           Guidelines may also have more complete information.




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       Employment with Frontier is considered "at-will". Employees have the
       right to end their work relationship with Frontier, with or without advance
       notice for any reason_ Frontier has the same right. The language used in
       this handbook and any verbal statements made by management are not
       intended to constitute a contract of employment, either expressed or
       implied, nor a guarantee of employment for a specific duration. No
       representative of Frontfer, other than the Chief Operating Officer (COO) of
       Frontier, has the authority to enter into an agreement of employment for
       any specified period. Such an agreement must be in writing and signed
       by the COO and the employee.


       02.05.3 FRONTIER FUNDAMENTALS
       Frontier Fundamentals help define who we are as a company and provide
       gui.dance as to how we should conduct ourselves.

       Safety
       Safety is the first priority and responsibility of every Frontier etnployee,
       whatever our job happens to be. We must never put at risk the lives of
       our customers, tec1m-members or anyone else. We must c1lways act
       consistently with our primary commitment to safety.

       Profit
       Frontier is in business to make a profit_ If we fail to make a profit, we will
       ultimately go out of business. Safety is a prerequisite for profit.

       Honesty & Respect
       To earn the trust of our customers, vendors and of each other, we must
       act at all times with honesty and respect. Safety rests on a foundation of
       trust.

       Reliability
       Reliability is an operational imperative second only to safety. We believe
       that the factors thc1t promote safety generally also promote reliability and
       that reliability is also consistent with profit.

       ~
       Customers will only fly Frontier if we are able to provide them with value.
       The primary way we are able to provide our customers with value is to
       offer them a better deal than they are able to find from our competitors.




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           Friendliness
           We transform our guest experience by being positive, energizing, and
           friendly. We enjoy, and take pride in, what we do.


           02.05.4 DEFINITIONS

           Certain words and terms used th roughout this manual are key to a proper
           understanding and interpretation of Frontier policies and programs.
           Working definitions of these words and terms follow:
           •   Accounting: Refers to the Chief Accounti ng Officer or his/ her
               designee.
           •   Company: Refers to Frontier.
           •   Computer Resources: Refers to the ent ire Frontier computer network.
               Specifically, Computer Resources include, but are not limited to: host
               computers, file servers, applicat ion servers, communication servers,
               mail servers, fax servers, Web servers, workstations, stand-alone
               computers, laptops, Personal Data Assistants, software, data fi les,
               and all internal and external computer and communications
               networks (for- example: Internet, commercial online services, value-
               added networks, e-mail systems) that may be accessed directly or
               indirectly from our computer, or are linked to our computer network.
           •   Employee: Refers to any current employee, whether active or on-
               leave.
           •   Home Office:
               Frontier Center One
               7001 Tower Road
               Denver, Colorado 80249
           •   Human Resources (HR): Refers to Frontier's Vice President, Human
               Resources & Labor Relat ions or his/her designee.
           •   My Frontier or n,ytrontier.org: The Front ier on-line information system
               that includes important forms, documents and references for
               Frontier employees.
           •   Senior Management: This includes t he Chief Executive Officer (CEO),
               Chief Operat ing Officer (COO), and/or Chief Financial Officer (CFO).
           •   Supervisor: The person to whom you are immediately responsible
               during your work period.




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       •   Users: Refers to all employees. independent contractors.
           consultants, temporary workers, business partners. vendors and
           other persons or entities that use our Computer Resources.


       02.05.5 QUESTIONS
       If you have any questions regarding any information contained in this
       employee handbook, please contact:
           Frontier Human Resources
           Frontier Center One
           7001 Tower Road
           Denver, Colorado 80249
       or email: HR@flyfrontier.com. You may call the general office front desk
       and be transferred to HR as well. The number is (720) 374-4200.




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                                        EMPLOYMENT
                                                                                I
           03.05.1 EQUAL OPPORTUNITY EMPLOYMENT
           At Frontier, we wholeheartedly support and have a strong commitment to
           Equal Employment Opportunity (EEO) and Affirmative Action. Frontier is
           committed to providing equal employment opportunities for all persons
           regardless of race, color, religion, gender, gender variance, sexual
           orientation, age, genetic informat ion, marital status. nationa.l origin,
           citizenship status, disability, military, veteran status, and any other bases
           protected by federal, state, or local laws.
           Equal opportunity extends to all aspects of the employment relationship
           including: hiring, training, employee development, prom otions, t ransfers,
           compensation, benefits, working conditi.ons, reduction in work force,
           social and recreation programs, termination,, and other terms and
           conditions of employment.
           Our Vice President, Human Resources & Labor Relations has been
           named our EEO Coordinator. The EEO Coordinator will be available to any
           member of management or any employee who may have a question
           concerning this policy and its implementation.


           03.05.2 EMPLOYEE DEFINITIONS AND SENIORITY
           All employment at Frontier is considered ''at-Will ". Employment can be
           terminated at any time Wit h or without cause. At the time you are hired,
           you are classified as a regular full-time, regular part~time, or scout
           employee. In addition, you are classified as either hourly or salaried.

           03.05.2.1 Regular Full-time Employee
           Definition: an em ployee who is normally scheduled for and works at least
           an average of 30 hours per week. Regardless of average hours worked
           per week, pilots and flight attendants are classified as regular full-time
           employees (flight attendants must meet the collective bargaining
           agreement requirements for t he flight attendant work group to qualify as
           full time unless a flight attendant bids for a nd is assigned part-time
           status).




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       The employee's seniority date will be determined by Human Resources.
       Employees hired on the same day will have their seniority determined by
       the last four digits of the social security number with the higher be.ing
       more senior.

       03.05.2.2 Regular Part-time Employee
       Definition: an employee who is normally scheduled for and works at least
       an average of 16 but less than 30 hours per week. Regular part-time
       employees are eligible for limited benefits on different terms and
       conditions than described for regular full-time employees in this
       employee handbook.

       03.05.2.3 Scouts
       Definition: an employee who is typically scheduled for no more than 15
       hours per week and performs guest service functions, such as
       wheelchair assistance, supervision of unaccompanied minors, driving
       electric carts, security screening, monitoring of passenger movement,
       assisting with bags, and other miscellaneous tasks.

       03.05.2.4 Initial Employment Evaluation Period - New Hires
       For most employees at the Company, the Initial Employment Evaluation
       Period is defined as the initial, continuous nine (9) month period of active
       employment with Frontier. The initial period allows you to determine if you
       have made the right career decision and for Frontier to determine
       whether your initial work performance meets our needs and standards.
       During and after this initial evaluation period your employment with
       Frontier will remain "at-will".

       03.05,2.5 Job Postings, Transfers and Promotions
       We would like you to grow and progress in your career as an employee of
       the Frontier family. This section qpplies to employees interested in
       applying for a transfer or being considered for a promotion to an open or
       new position in Frontier. Except certain management positions, most
       openings within Frontier ar.e posted in UltiPro.
       If you are a current employee interested in applying for a posted position,
       you must request a job transfer using the Employee Transfer Request
       Form in UltiPro. Print this form, complete it and present it to your
       manager for approval. This Form must be approved by your manager
       before you apply online, If you apply online before completing this
       process you will not be able to move forward and will be removed from
       consideration.


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           This is a two-step process that must be followed for transfer
           consideration. For additional information, see details under "my
           company/ job openings" in UltiPro.
           All interview/transfer requests must be signed by your current manager
           and received by the "close date" indicated on the internal job posting in
           order to be considered for the position. Most positions will normally be
           posted for five (5) working days. External recruiting may be conducted
           concurrently with the internal job posting.
          Employees will be screened, interviewed if qualified, and tested (if
          required) as all other candidates for that position. It is your responsibility·
          to arrange for time off to interview for the position. Employee eligibility
          will be based on, but not .limited to:
           •   Time in Present Position: May not be less than nine (9) continuous
               months of employment in present position. This time period may be
               waived by the Director or Vice President of the department.
           •   Present Job Performance/Work Habits: Employees that are or have
               been at a Final Written Warning level of discipline regarding work
               habits (attendance, behavior, safety, etc.) in the last twelve months
               will not be eligible for transfer unless otherwise mandated by a
               seniority integration agreement or other binding agreement.
           •   Qualifications, skills and ability to meet criteria of position.
           •   Active status: If you are not on active status you must gain approval
               from Human Resources at the time you apply for a transfer or
               promotion.
           If you request and are awarded a transfer you are expected to honor that
           award. If you are awarded a position and then decline, you may be
           prohibited from bidding on future openings for a period of three (3)
           months from the date you decline. When transferring to a new
           department, your seniority date for salary adjustments, furloughs and
           bidding work schedules and vacations will be your transfer date. If you
           transfer from a non-safety sensitive position into a safety sensitive
           position you will be required to submit to a pre-employment drug screen.


           03.05.3 RELOCATION REIMBURSEMENT
           Relocation guidelines apply to current employees eligible for relocation in
           the following circumstances:
           •   Frontier requests the employee to relocate.



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       •    The employee's promotion within Frontier requires relocation.
           NOTE: Promotion, for relocation purposes, is defined as moving
           from a management position to another management position, or
           moving from a non-management position to a management position.
       Employees relocating for personal reasons or lateral transfers (e.g.,
       moving as a customer service agent from a station to Denver or to
       another station) will not receive financial assistance with relocation.
       Employees moving at Frontier's request or due to a promotion will be
       granted three (3) paid days off to move to their new location. Additional
       non-work time needed to complete the move will be unpaid.


       03.05.4 90 DAY REHIRE POLICY
       An employee who separates from the company and is rehired within 90
       days Will have their seniority restored for purposes of sick and vacation
   I   accrual rates, and travel. Prior corrective action will be reinstated as well.


       03.05.5 REDUCTION IN WORK FORCE
       When economic conditions require a reduction in work force, the
       following criteria will be used as a guide to determine which employees
       Will be retained:

       03.05.5.1    Employees in Exempt (Salaried) Positions:
            Will be based on job performance, work experience, qualifications,
            knowledge and ability, operational needs and other relevant factors,
            including length of service.

       03,05.5 .2   Employees in Non-Exempt (Hourly) Positions:
            Will be based on time in position (seniority) unless department
            guidelines differ.
       Employees (Exempt and Non-Exempt) affected by a reduction in work
       force may:
       •    Be offered a Company Offered Leave of Absence.
       •    Be separated from employment at Frontier and be eligible for rehire
            should economic conditions permit. If rehired on or before the 365th
            day following the date of f urlough, the employee's seniority date will
            be adjusted for time away. The employee's vacation accrual will have


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               been paid so the accrual process will begin again. Accrual rate for
               vacations and sick leave will be at the employee' s adjusted seniority
               date. Any corrective action in effect at the time of reduction in force
               will be reinstated at the same level, upon re-employment. If an
               employee does not return to active status on or before the 365th day
               following the furlough date, the employee's furlough status will
               become a termination.
           Health insurance coverage Will be extended through the last day of the
           month of termination. In addition, health insurance can be continued in
           accordance with the Consolidated Omnibus Budget Reconciliation Act
           ("COBRA"), which gives workers who lose their health benefits and their
           families the right to choose to continue group health benefits provided by
           their group health plan for limited periods of time under certain
           circumstances such as involuntary or voluntary job loss and other life
           events.


           03.05.6 NOTICE TO EMPLOYER

           In order to determine security clearance status, and general employment
           eligibility any employee charged with a felony must notify management
           and Human Resources within 24 hours of the charges via e-mail at
           HR@flyfrontier.com. If the employee does not have access to e-mail, the
           employee must call HR at (720) 374-4200 (ask to be transferred to HR).
           All criminal convictions, including misdemeanors must be reported to
           your Manager and Human Resources within 48 hours. In both cases,
           appropriate legal documentation must be provided within 72 hours.
           An employee whose driver's license is suspended or revoked must notify
           his or her Manager and Human Resources within 24 hours of notification
           of revocation or suspension, if a driver's license is required for the
           employee's position.
           Frontier reserves the right to take .action up to and including termination
           of employment in any of t hese sit uations.




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                                WORKPLACE GUIDELINES
                                                                                 I
           04.05.1 WORK SCHEDULES
           An airline is a 24-hour, seven-day-a-week operation. The normal
           workweek consists of five days, each eight hours long, Monday through
           Friday. The General Office's regular operating hours are from 8:00 a.m. to
           5:00 p.m., Monday through Friday. For individual field stations, hours of
           operation vary according to flight operational needs. Flexible work
           schedules (e.g., four 1O-hour shifts) are available at the discretion of the
           department's management.

           04.05.1..1 Business Hours
           Management will schedule/determi ne your particular work hours and
           meal period.

           04.05.1..2 Meal and Break Periods
           Meal and break periods are scheduled depending on the needs of each
           department. You are free from all work duties during meal and break
           periods.
           The airline operation and flight operations provide substantial periods of
           inactivity for many employees. These periods shall serve as breaks.
           Normally, breaks will be scheduled at two different intervals, one prior to
           your meal period and one after your meal period. If you work in a
           department where breaks are not directly assigned, please coordinate
           with your co-workers to maintain adequate coverage at all times.

           04.05.1.3 Time Off Clock (TOC)
           On occasion, job demands will decrease the number of employees
           needed on duty. When this situation occurs, Frontier may choose to
           minimize cost by allow1ng individuals to leave work early or report to work
           later without pay. TOC is ALWAYS voluntary and cannot be mandated. In
           such cases the following procedure Will apply:
           1.   A list will be maintained at the job location to allow every employee
                the opportunity to indicate if they would like to leave early or come in
                later than the start time.
           2. If the opportunity for TOC materializes; the manager will go to the list
              and award the opportunity to the most senior person based on their
              scheduled shift and then seniority date.
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       3.   At times, advance TOC may occur for days or weeks at a time. If this
            takes place the manager will award the time off based on seniority
            within affected shifts.

       04.05.1.4 Swapping/Trading Shifts and Days Off
       Swapping or trading shifts, and days off may be permitted providing your
       supervisor determines the swap will not interfere with the smooth and
       efflcfent operation of your department. Frontier Wlll not be responsible for
       recouping any lost hours due to swaps under any circumstances,
       including termination (either voluntary or involuntary) of the employment
       of one of the individuals involved in the swap. swapping or trade shifts
       that result in understaffing may result in disciplinary action for all
       involved, up to and including termination of employment. Your supervisor
       or the Director or Vice President of the department reserves the right to
       limit or eliminate all swapping either temporarily or permanently. Refer to
       your department guidelines for swap/trade specifics.

       04.05.1.5 Severe Weather and Emergency Conditions
       We will, at all times, be considered open for business. Usually, in the
       event of severe weather conditions or other emergencies. the COO or
       your department head may decide to close a Frontier location prior to the
       opening of business or during the business day. Your department head or
       Corporate Communications will notify you as soon as possible.
       Non-exempt hourly employees will be paid for hours they have worked up
       to the time the location closes during the business day. If the business is
       closed prior to the beginning of the day, hourly employees will not be paid
       unless they are asked to, and are able to report to work, or they use
       accrued vacatfon tfme. In no event may an employee use sick leave to be
       paid for missing work due to severe weather.
       Employees will be held accountable according to department attendance
       standards for days missed beyond those identified by management as
       severe weather days.

       04.05.1.6 Assigning Duties and Responsibilities
       Duties and responsibilities are assigned to other qualified personnel
       when someone is out of the office. This is accomplished via company
       email agreement between the individual and the designee. To ensure
       those outside the department are aware the temporary contact change;
       an 'out of office' message is created by the individual in Frontier's
       calendar system and an out of offi'ce voice mail greeting if appropriate.


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           04.05.2 DRESS CODE
           We expect our employees to wear clothing appropriate to the jobs being
           performed. For uniformed personnel, this means wearing the prescribed
           uniform. All other employees, while at work, should dress in a manner
           that allows them to present themselves well to the customer and create a
           professional work environment. If your manager feels your attire is out of
           place, you may be asked to leave your workplace until you are properly
           attired.
             NOTE: Please refer to applicable department policies for specific
             guidelines (including uniform requirements) as different
             departments may have unique dress code requirements.


           04.05.3 PARKING
           You are provided with parking accommodations at your location of
           employment with Frontier. This benefit is provided by Frontier at no cost
           to you for one location only. A company parking pass must be returned
           upon your separation from Frontier. To t he extent permitted by applicable
           law, you may be charged based on airport/parking fees if you fa il to
           return a pass at separation or lose your pass.


           04.05.4 TELEPHONE USAGE
           Many customers and other people may form an opinion of Frontier based
           on your telephone conversations with employees or others. Because
           many may overhear conversations, telephone courtesy is vital. In order to
           keep telephone lines open for business calls, you are discouraged from
           making or receiving personal calls unless absolutely necessary. Personal
           calls, if necessary, should be made on your own t ime during your break or
           lunch period. Excessive personal calls or misuse of the telephone will
           result in disciplinary action. Making unauthorized long distance personal
           telephone calls at Frontier's expense ls prohibited.


           04.05.5 IDENTIFICATION BADGES
           You are issued Frontier identification badges and access cards at t he
           beglnning of vour employment and you are required to wear these
           badges whenever on Company premises. It is t he responsibility of all
           Frontier employees to maintain security at Frontier's facilities at all times.



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       Your Frontier identification badge and access cards must be returned
       upon separation of employment from Frontier. To the extent permitted by
       applicable law, you will be charged a fixed amount if you fail to return a
       badge or access card at separation. You will also be responsible for
       replacement fees if your badge or access cards are lost or stolen. Your
       Frontier ID must be displayed on the outermost garment. If you encounter
       any individual not properly displaying Frontier identification on Frontier
       property, ask for proper identif.ication. If identification is not provided,
       notify Frontier's Security Department immediately.
       Vendors and various Technical Representatives from other companies
       performing work for Frontier over an extended period of time. normally
       considered over 30 days, may be issued a Company temporary vendor
       badge. These badges must be requested and approved by a Director or
       Vice President of the department.
       All visitors to Frontier's General Office are required to register with the
       receptionist and receive a visitor badge.


       04.05.6 CHARITABLE SPONSORSHIP REQUEST

       Frontier strives to support nonprofit organizations' charitable efforts in
       the communities we serve. Forms and program policies can be found at:
       http://www.flyfrontier.com/who-we-are/company-info/corporate-
       responsibility/charitable-sponsorship-request




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           04.05. 7 INSPECTION

           To help maintain a safe, healthy and efficient working environment,
           Frontier reserves the right to conduct inspections of personal items
           brought onto Frontier premises. If a manager determines a search is
           necessary, your cooperation is required as a condition of employment.
           An employee is subject to questions and personal property search at
           management's discretion. Personal items include items carried onto
           Company property such as backpacks. purses, etc. Any item you do not
           want searched should not be brought onto Company property. A search
           may also include areas such as Company vehicles, offices, cubicles,
           lockers, desks, filing cabinets, computer files, electronic mail and voice
           mail.
           A company initiated search does not imply accusation or guilt. However,
           your cooperation is necessary. If you refuse, your employment with
           Frontier is subject to discipline up to and including termination.


           04.05.8 OUTSIDE EMPLOYMENT
           If you wish to work for another Company whi le employed With Frontier, you
           may do so as long as the outside employment does not constitute a
           conflict of interest (see 05.05.13 Conflict of Interest), as determined by
           Frontier. If you are in doubt as to whether working for another employer
           would constitute a conflict of interest; contact your manager or Human
           Resources for clarification.


           04.05.9 RESIGNATION AND TERMINATION
           Should an employee decide, for any reason, to separate their
           employment with Frontier, they must (1) provide notice of resignation in
           written form at least two (2) weeks prior to t heir final date of employment
           and (2) be in good standing as of their final date. of employment (i.e.
           cannot be on corrective action at Final Termination Warning level or
           under investigation) to be considered eligible for rehire. Furthermore, any
           employee wishing to retire and possessing sufficient age and years of
           service to do so, must provide notice of their resignation ·in writing at
           least two (2) weeks in advance of their final date of employment. Failure
           to do so will result in denial of retirement benefits.
           An employee may not resign or retire in order to avoid an active
           investigation or termination of employment for cause.

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       An exiting employee may be asked to grant an exit interview. Their
       manager or Human Resources representative may discuss the exiting
       employee's reasons for leaving and any other impressions that they may
       have about their time with Frontier.
       Employees rehiring within 90 days of their separation of employment will
       not forfeit seniority (i.e. will have their seniority "bridged"). (Reference
       03.05.04)
       Should Frontier terminate an employee because of a reduction in the
       work force or elimination of a position, Frontier will attempt to give the
       employee notice in written form at least two (2) weeks prior. Any
       employee whose job is eliminated is encouraged to review any job
       openings at Frontier. At the time of separation all employees must
       complete a termination checkout form with their supervisor, manager or
       Human Resources. Also, you must return any Company property you have
       in your possession prior to leaving Frontier. This will include, but is not
       limited to: Company issued uniforms, identification badges, flight
       vouchers, employee handbooks, Company controlled manuals, tools,
       keys, credit cards, Company monies or any other Frontier property.
       To the extent permitted by applicable laws, failure to return Frontier
       property may lead to a deduction in your final paycheck for an amount
       equal to the value of the unreturned items. A final accounting of your
       accrued, but unused vacation time, if any, will be included in your final
       paycheck. On the other hand, if your used vacation that has not been
       accrued, to the extent permitted by applicable laws. hours will be
       deducted from your final paycheck. To the extent permitted by applicable
       laws, if an employee resigns, Frontier will pay any accrued, but unused
       vacation pay awarded in the current calendar year only if the employee
       has at least one year of service.




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           04.05.10 EXPENSE REIMBURSEMENT /ALLOWANCE
           Frontier reimburses certain reasonable expenses incurred directly
           related to Frontier business when you travel and within the guidelines set
           forth below. Frontier will reimburse you for meals, travel, and related
           expenses when you are required to travel on company business. Frontier
           does not expect employees to be financially burdened due to required
           business travel. The reimbursement policies are designed to supplement
           the higher cost of meals and incidentals while traveling, but are not
           designed to replace what you would otherwise incur on a daily basis.

           04.05.1.0.1 Lodging
           Frontier maintains a list of which hotels must be used in each city to
           ensure that the lodging will be direct billed to Frontier. Lodging must be
           booked through Corporate Travel via Frontier Business Travel Request
           Form.

           04.05.10.2 Meals and Incidentals:
           You will receive $1.65 per hour in meal reimbursement for time spent
           away from your normal work location, outside of your metropolitan area.
           You should not expect reimbursement for meals and incidentals if you
           are performing work away from your normal Work location, but are still
           within the same metropolitan area. Frontier does not expect to reimburse
           you for the time incurred in your normal daily commute.
           •   If you leave your home, the trip time commences upon departure
               and ends upon your return minus your normal daily commute time.
           •   If you leave from your work location and return to your home, the
               hours should be reduced by half your normal daily commute time.
           If during your trip a meal is purchased by someone else or the hotel
           provides a meal, you should adjust your meal reimbursement hours by
           the following guidelines:
           •   Breakfast - reduce by 5 hours
           •   Lunch - reduce by 7 hours
           •   Dinner - reduce by 12 hours
           If you request reimbursement for more than the rate per hour above
           allows, then itemized receipts are required. This expense reimbursement
           requires approval of your Director or Vice President. Frontier does not
           reimburse for entertainment expenses (movies, videos, concert tickets,
           music downloads etc.). Frontier does not reimburse for alcoholic
           beverage purchases.


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       04.05.10.3 Rental Cars
       Occasionally, Frontier will approve the use of rental cars. If a rental car is
       required for Company travel, the following guidelines should be followed:
       when picking up a rental car all additional insurance is to be waived as
       well as the tank refueled before returning the vehicle. GPS systems and
       other upgrades will not be approved or paid by Frontier. Car rentals must
       be booked through Corporate Travel via Frontier Business Travel Request
       Form and approved by your Director or Vice President. A rentar oar should
       be requested for any vehicle travel above 100 average miles per day
       instead of driving your personal vehicle.


       04.05.11 USE OF PERSONAL VEHICLE
       The use of a personal vehicle for company purposes, beyond your normal
       commute to work, is reimbursable. In lieu of using your personal vehicle,
       you should request a rental car if their work assignment .requires you to
       drive more than an average of 100 miles per day. Generally, any miles
       exceeding your normal commute (mileage to where you normally work) or
       use of your personal car after arriving at your base locatioh will be
       reimbursed.
         NOTE:   For the purposes of mileage reimbursement the Denver
         General Office and the Denver Intemational Airport are considered
         the same location.

       04.05.11.1 Mileage Reference Guide
       • DEN GO to UAL Simulator Center....... ............................ 12.4 miles
       •   Mileage is calculated based on miles driven, but should not exceed
           the calculated mileage of onHne map services (i.e., Google Maps,
           MapQuest, etc.) or similar services.

       04.05.11.2 Other
       Any request for reimbursement for any item not covered above requires
       Director written approval. Expense policies may be reviewed by internal
       audit for compliance by submitters and approvers.


       04.05.12 HOW TO SCHEDULE COMPANY TRAVEL
       All travel for Company business must be arranged through Corporate
       Travel.




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           When traveling on Company business, complete the Frontier Business
           Travel Request Form, found on Ultipro; click on Electronic Forms and
           send it to Corporate Travel at F9corporatetravel@flyfronter.com.
           All Flight and Hotel requests must be approved by a Manager or above.
           All car rentals and expenses outside of the standards require the Di rector
           or Vice President's written approval.


           04.05.13 HOW TO SUBMIT AN EXPENSE FORM
           To obtain reimbursement for travel costs, you must complete an Expense
           Report. When traveling, all expenses for each trip must be included on an
       I   Expense Report. You can obtain the expense report on UltiPro.
           •    Click on My Company and choose electronic forms from the
                dropdown menu.
           •    Click on Employee Expense Form.
           •    Please complete the form and submit it along With a legible copy of
                any supporting documentation, if applicable, to your Manager or
                Director for approval. Supporting documentation should include
                legible itemized receipts_
           •    The approved expense report should be sent to the Accounts
                Payable department for processing via e-mail (ap@flytrontier.com ) or
                Company mail (Attn: AP Expense Claims at DEN GO).
           It is your responsibility to submit your expense report each week as you
           incur authorized, reimbursable expenses. In order for the Company to
           keep records and accounting accurate and current, expense reports or
           vouchers older than 90 days may not be honored.
               NOTE: If no receipt or documentation is available, then the
               employee must attach a statement detailing such expenditures.




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                               STANDARDS OF CONDUCT
                                                                               I
           Frontier Airlines is proud of the fundamentals established to help guide
           our employees through their employment with the company.
          To ensure that our mission is achieved, standards of conduct are needed
          as a guideline to help everyone work together efficiently, effectively, and
          harmoniously. By accepting employment with Frontier Airlines, you have a
           responsibility to the company and to your fellow employees to use good
          judgment and appropriate behavior when dealing with customers,
          suppliers and each other. Failure to do so may result in corrective action,
           up to and including termination of employment. The purpose of
          standards of conduct is not to restrict your rights, but rather to be certain
          that you understand what conduct is expected and necessary, When
          each person is aware that he/ she can fully depend upon fellow workers
          to follow the standards of conduct, our organization will be a better place
          for everyone to work.
           Frontier depends on its employees to conduct themselves in a
           professional manner and to treat each other with respect. Employees are
           not to engage in behavior that could bring, discredit to Frontier. Physical
           violence is never acceptable behavior. Work areas are expected to be
           free from inappropriate posters or pictures (hard copy or in the computer)
           and avoid language or jokes that could offend others. Employees are
           expected to communicate effectively with everyone they work with when
           performing their duties. However, it is completely acceptable for
           employees to speak another language while engaged in personal
           conversation.
           Dishonesty, theft, willful destruction of company property or other
           violations of these standards of conduct will not be tolerated and could
           lead to corrective action, up to and including termination of employment.
           If you witness any act that violates this policy, report the incident
           immediately to a supervisor, or manager.


           05.05.1 ANTI-DISCRIMINATION
           Frontier Airlines is committed to treating every patron with courtesy and
           respect. Frontier prohibits its employees from discriminating against
           patrons based on race, color, national origin, ancestry, religion, gender,
           or age. Improper discrimination will not be tolerated. Frontier's non-


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       discrimination policy applies to all interactions between Frontier
       employees and patrons. Frontier employees shall not use race, color,
       ethnicity, national origin or religion to assess whether a patron should be
       reported to law enforcement, except where those factors are part of a
       description of a particular suspect.


       05.05.2 HARASSMENT
        Frontier employees are expected to show genuine respect and kindness
       to each other. We want to guard against inappropriate comments, unwise
       jesting, improper actions or indiscrete situations that could be
        misunderstood by others.
       Frontier compl ies with federal and state equal employment opportunity
       laws and strives to keep the workplace free from all forms of unlawful
       harassment. The Company does not and will not permit employees to
       engage in unlaWful discriminatory practices, sexual harassment, or
       harassment based on race, color, religion, gender, sexual orientation,
       gender identity, marital status, national origin, creed, age, disability,
       genetic information, or veteran status, as well as any other status
       protected by applicable federal or local law. UnlaWful harassment by any
       employee, supervisor, manager, or person doing business with the
       Company is strictly prohibited.
       Frontier also strives to provide and foster a safe environment, free from
       workplace violence, where people can work without fear of psychological
       or physical harm. Frontier considers harassment in all forms to be a
       serious offense and prohibits retaliation against anyone who reports any
       such violation. Harassment js unwelcome behavior that creates an
       intimidating, hostile, or offensive work environment that unreasonably
       interferes with an individual's work performance, or otherwise affects an
       individual's employment opportunities.
       Workplace violence is any behavior that management identifies as (i)
       verbally or physically threatening; (ii) intimidating; or (iii) harassing in
       nature. This includes racially motivated comments, religious epithets,
       sabotage, vandalism of personal and company property, or verbal or
       physical threats of any kind.




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           If you believe you have been subjected to harassment, or workplace
           violence, you should directly inform the offending person that his or her
           conduct is unwelcome and must stop. If you feel uncomfortable in doing
           so., if you do not wish to communicate directly with the offending person,
           or If your communication is unsuccessful, immediately bring the matter
           to the attention of your manager or Human Resources. You may also use
           the Company hotline, but please note that anonymous complaints are
           inherently more difficult to investigation and resolve. Any complaint
           concerning these issues will be promptly investigated and handled as
           confidentially as possible.
           Any employee found to have engaged in conduct that violates this policy
           will be subject to immediate corrective action, up to and including
           termination from employment.
           Frontier prohibits retaliation against any employee for making any good
           faith complaint regarding conduct prohibited by this policy, or for
           participating i.n any investigation concerning such a complaint. If you
           believe you have been subject to any such retaliation you must promptly
           notify the Vice President, Human Resources & Labor Relations, or a
           designee.
           Frontier recognizes that false accusations of harassment can have
           serious effects on innocent employees. As such, we will approach each
           complaint investigation with the interests of all employees in mind, We
           trust that all employees will act in good faith in reporting harassment.

          05.05.2.1 Sexual Harassment
          Because sexual harassment raises issues that are, to some extent,
          unique, Fr9ntier believes it warrants separate emphasis. Frontier strives
          to provide all employees with an enjoyable work environment that is free
          from all forms of illegal discrimination, including sexual harassment. The
          term "work environment" includes any location in which an employee is
          performing any duty or interacting with ot her employees in the scope of
          their employment , including Company social functions.
           Frontier strongly opposes sexual harassment and inappropriate sexual
           conduct. Sexual harassment is defined as unwelcome sexual advances,
           requests for sexual favors, and other verbal or physical conduct of a
           sexual nature, when:
           •   Submission to such conduct is made explicitly or implicitly a term or
               condition of employment;



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       •   Submission to or rejection of such conduct is used as the basis for
           decisions affecting an individual's employment; or
       •   Such conduct has the purpose or effect of substantially interfering
           with an individual's work performance or creating an intimidating,
           hostile or offensive work environment.
       All employees are expected to conduct themselves in a professional and
       business-like manner at all times. Inappropriate conduct that could lead
       to a claim of sexual harassment is expressly prohibited by this policy.
       Such inappropriate conduct includes, but is not limited to, sexually
       implicit communications whether in:
       •   Written form: cartoons, posters, calendars. notes, letters, electronic
           mall
       •   Verbal form: comments, jokes, foul or obscene language of a sexual
           nature, gossiping or questions about another's sex life, or unwanted
           requests for dates
       •   Physical gestures and other nonverbal behavior: unwelcome
           touching, grabbing, fondling, kissing, massaging, and brushing up
           against another's body
       If you believe you have been subjected to any such conduct, you should
       directly inform t he offending person that his or her conduct is unwelcome
       and must stop. If you feel uncomfortable in doing so, if you do not wish to
       communicate directly with the offending person, or if your
       communication is unsuccessful, immediately bring the matter to the
       attention of your manager or Human Resources. You may also use the
       Company hotline, but please note that anonymous complaints are
       inherently more difficult to investigat ion and resolve. Any complaints
       concerning these issues will be promptly investigated and handled· as
       confidentially as possible. If a determination is made that an employee
       engaged in inappropriate conduct, that employee will be subject to
       disciplinary action, up to and including termination from employment.


       05.05.3 AMERICANS WITH DISABILITIES ACT (ADA)

       05.05.3.1. Polley
       It is everyone's responsibility to adhere and support the Americans with
       Disabilities Act (ADA). This :includes all leadership, staff and employees.




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           It is the policy of Frontier to not discriminate against qualified individuals
           with disabilities in regard to application procedures, hiring,
           advancement, discharge, compensation, training, or other terms,
           conditions, and privileges of employment.
           Additionally, the ADA requires employers to reasonably accommodate a
           qualified individual with a disability. It is the policy of Frontier to comply
           with all federal , state, and local laws concerning the employment of
           persons W1th disabilities.
           Frontier will reasonably accommodate qualified individuals with a
           disability so they can perform the essential functions of the job in
           question.
           An individual, who can be reasonably accommodated for the job in
           question , without undue hardship, will be given the same consideration
           for that position as any other employee or applicant.
          All employees are required to comply with safety standards. Appl icants
          who pose a direct threat to the health or safety of other individuals,
          including customers and co-workers, in the workplace, which threat
          cannot be eliminated by reas.onable accommodation, will not be hired.
          current employees who pose a direct threat to the health or safety of
          other individuals, including customers and co-workers, in the workplace
          will be placed on appropriate leave until an organizational decision has
          been made in regard to t he employee's immediate employment situation.
           The Human Resources Depart ment is responsible for implementing this
           policy, including resolution of reasonable accommodation, safety, and
           undue hardship issues.

           05.05.3.2 Definitions
           In implementing this policy, Frontier will be guided by t he then- applicable
           definit ions stated in the ADA or in case law construing the ADA, and
           applicable state and local law. In the event of any conflict between
           definitions in the ADA and definitions in th is policy, the legal definitions
           will control. The following discussion is provided for general guidance of
           employees and applicants in understanding the policy of Frontier.




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       •   "Disability" refers to a physical or mental impairment that
           substantially limits one or more of the major life activities of an
           individual. An individual who has such an impairment, has a record
           of such an impairment is also deemed a ''disabled individual". An
           individual may also be deemed "dtsabled" if that person is regarded
           as having such an impairment. However, in the ·"regarded as"
           instance, the situation is more complicated. Under amendments to
           the ADA in 2008, if the condition is transitory and minor, defined as
           having an actual or expected duration of 6 months or less, then the
           condition does not normally qualify as a disability under federal law.
           Generally, ameliorative measures such as medications and medical
           devices will not be considered in making a disability determination,
           although ordinary eyeglasses may be taken into consideration. So,
           for example, the mere fact that a person wears ordinary eyeglasses
           will not qualify that person as ''disabled." On the other hand, the fact
           that a person has a hearing aid or takes medications to address the
           impairment will not disqualify that person as being ''disabled" if the
           person otherwise meets the definition of "disabled."
       •   "Major life activity" may include things such as caring for oneself,
           performing manual tasks, seeing, hearing, eating, sleeping, walking,
           standing, lifting, bending, speaking, breathing, learning, reading,
           concentrating, thinking, communicating or working. A "major life
           activity" may also include bodily functions such as functions of the
           immune system, normal cell growth, digestive, bowel, bladder,
           neurological, brain, respiratory, circulatory, endocrine, and
           reproductive systems.
       •   "Direct threat to safety'' refers to a significant risk to the health or
           safety of the employee in question or to others that cannot be
           eliminated by reasonable accommodation.
       •   "A ''qualified individual with a disability" refers to an individual with a
           disability who, with or without reasonable accommodation, can
           perform the essential functions of the employment position that the
           individual holds or has applied for.
       •   "Reasonable accommodation" refers to making existing facilities
           readily accessible to and usable by individuals with disabilities,
           including but not limited to: job restructuring, part-time or modified
           work schedules, reassignment to a vacant position, acquisition or
           modification of equipment or devices, adjustment or modification of
           examinations, adjustment or modification of training materials,
           adjustment or modification of policies, and similar activities.


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           •   "Undue hardship" refers to an action requiring significant difficulty or
               expense by the employer. The factors to be considered in
               determining an undue hardship include: (1)The nature and cost of
               the accommodation; (2) The overall financial resources of the facility
               at which the reasonable accommodation is to be made; (3) The
               number of persons employed at that facility; (4) The effect on
               expenses and resources or other impact upon that facility and/or the
               other employees at that facility; (5) The overall financial resources of
               Frontier; (6) The overall number of employees and facilities; (7) The
               operations of the particular facil ity as well as the entire Company; (8)
               The relationship of the particular facility to Frontier. These are not all
               of the factors but merely examples.
           •   "Essential job functions" refers to those activities of a job that are
               the core to performing the job in question.

           05.05.3.3 PROCEDURE
          A qualified employee with a disability Who would like to receive a
          reasonable accommodation          should   complete the      Employee
          Accommodation Request Form and contact Human Resources, at
          hr@flvfrontier.com or call (720) 3744200 and ask to be transferred to
          Human Resources. The employee should provide information about the
          nature of his or her disability, and request an accommodation. Once
          Human Resources receives an employee's documentation, they will
          engage in an interactive process with the employee. This interactive
          process consists of discussion among the employee, the employee's
          supervisor or manager, and Human Resources in an effort to determine
          the most appropriate workplace accommodation. Human Resources may
          ask for additional documentation of the employee's medical condition,
          and based on that information, will determine whether a reasonable
          accommodation is appropriate based on the impact of a disability. Under
          the law, the Company chooses which reasonable accommodation is
          appropriate.




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       05.05.3.4 CONFIDENTIALITY
       Information acquired by Human Resources including disability
       information, medical information or diagnoses, psychological
       information, case notes, and records will be mafntained confidentially.
       Information relating to a person's disability is confidential and may only
       be released with the person's permission. In limited circumstances,
       sharing of disability-related information is permissible on a need-to-know
       basis. For example, when an etnployee receives a workplace
       accommodation, only the details of the accommodation are shared with
       the employee's supervisor.

       05.05.3.5 COMPLAINT PROCEDURE
       A person with a disability who believes his or her disability is not being
       accommodated, or who has experienced discrimination or harassment
       on the basis of disability, may file a complaint with the Vice President ,
       Human Resources & Labor Relations or designee.
       Issues that may form the basis of a complaint include, but are not limited
       to, a denial of a requested accommodation, the inadequacy of an
       accommodation, the inaccessibility of a program or activity due to
       disability, and discrimination or harassment based on disability.


       05.05.4 WHISTLEBLOWER POLICY

            Policy for Reporting Complaints Regarding Accounting, Internal
                         Accounting Controls or Audit Matters

       05.05.4.1. Introduction
       Frontier Airlines, Inc. ("Frontier") is committed to high standards of
       ethical, moral and legal business conduct. It seeks to facilitate disclosure
       regarding accounting and auditing matters, encourage proper individual
       conduct, and provide notice to the Audit Committee of potential
       accounting problems before they have serious consequences.
       Accordingly, Frontier has established the procedures set forth below for
       the receipt, retention and t reatment of complaints regard ing accounting,
       internal accounting controls or auditing matters (collectively, ''Accounting
       Matters"). These procedures have been developed to ensure that
       Frontier employees can submit concerns regarding questionable
       Accounting Matters in a confidential, anonymous manner without fear of
       dismissal or retaliation of any kind.


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          Scope of Matters Covered
           These procedures relate to complaints or concerns :regarding Accounting
           Matters, including, without limitation, the following:
           •   fraud or deliberate error in the preparation, evaluation, review or
               audit of any financial statement of Frontier
           •   fraud or deliberate error in the recording or maintaining of financial
               records of Frontier
           •   deficiencies in or noncompliance with Front ier's internal accounting
               cont rols
           •   misrepresentations or false statements to or by an officer of Frontier
               or an accountant regarding a matter contained in the financial
               records, financial reports or audit reports of Frontier
           •   deviation from full and fair reporting of Frontier's financial condit ion
           •   conduct which may reasonably be believed to be a violation of the
               Foreign Corrupt Practices Act or other anti-corruption laws
           •   unlawful activities; or
           •   mail fraud , wire f raud, bank fraud , or securities fraud

          Submission and Receipt of Complaints
           General Persons with complaints or concerns regarding Accounting
              Matters should promptly report them to the Company's General
              Counsel by mail addressed to General Counsel, Frontier Airlines,
              7001 Tower Road, Denver, CO 80249, or by email to
              whistleblower@flyfrontier.com. The General Counsel will maintain the
              confidentiality and anonymity of persons making complaints to the
              fullest extent practicable and subject to existing legal or regulatory
              requirements.
           Anonymous Third Party Whistleblower Hotline Service Frontier
              employees who have complaints or concerns regarding Accounting
              Matters may, rather than submitting such complaints directly to the
              Company through its General Counsel, submit them confidentially
              and anonymously by voice mail t hrough Frontier's Whistleblower
              Hotline Service. All Complaints submitted to the Hotline Service will
               initially   be reviewed   by   Frontier's   Vice   President of Human
               Resources. The Hotline Service voicema il may be reached by calling
               800-837-9023.

           Content of Complaints
           To assist in the response to or investigation of a complaint, the complaint

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       should be factual rather than speculative, and contain as much
       information as possible to allow for proper assessment of the nature,
       extent and urgency of the matter that is the subject of the complaint.
       Complaints that contain unspecified wrongdoing or broad allegations
       without verifiable evident1ary support w ill be less likely to result in
       investigation. Anyone filing a complaint concerning a violation or
       suspected violation of Accounting Matters must be acting in good faith
       and have reasonable grounds for believing the information disclosed
       indicates a Violation. Any allegations that prove not to be substantiated
       and have been made maliciously or with knowledge of their falsity will be
       viewed as a serious disciplinary offense.

       Retent ion of Com laints
       Written copies of all complaints will be retained by Frontier (as
       appropriate) in accordance with the Company's Records Retention and
       Destruction Policy and applicable law.

       Treatment of Complaints
       All complaints will be taken seriously and addressed promptly, discreetly
       and professionally. If the Vice President of Human Resources determines
       that a complaint submitted to the Whistleblower Hotline pertains to an
       Accounting Matter, he/she will submit the complaint to the General
       Counsel for investigation. The General Counsel will evaluate each
       complaint and may conduct an investigation based upon such complaint.
       A summary of complaints received under this policy will be
       communicated to the Audit Committee on a quarterly basis (or a more
       frequent basis should conditions warrant more timely action). The Audit
       Committee may, at any time, request a briefing by the General Counsel or
       other person(s) conducting an investigation regarding their findings. The
       Audit Committee shall have full authority to determine the corrective
       act ion, if any, to be taken in response to a complaint




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           Non-Retaliation
           It is Frontier's policy to comply with all applicable laws that protect our
           employees against unlawful discrimination or retaliation by us or our
           agents as a result of their lawfully reporting information regarding, or
           their participation in, investigations regarding Accounting Matters. If any
           employee believes that he or she has been subjected to any harassment,
           threat, demotion, discharge, discrimination or retaliation by Frontier or its
           agents for reporting complaints regarding Accounting Matters in
           accordance with this policy, he or she may file a complaint with our Vice
           President of Human Resources. If it is determined that an employee has
           experienced any improper employment action in violation of this policy,
           we shall promptly take appropriate corrective action.


           05.05.5 EMPLOYMENT OF RELATIVES AND PERSONAL
           RELATIONSHIPS IN THE WORKPLACE

          The employment of relatives or individuals involved in a dating or
          personal relationship may cause potential or actual conflicts of interest
          or favoritism, or the appearance of a conflict or favoritism. Frontier
          recognizes that even the appearance of potential conflict or favorittsm
          can damage credibility, impair department morale, and undermine an
          employee's effectiveness. Accordingly, Frontier does not permit
          employees who are related or involved in a dating or personal
          relationshi p to have direct supervisory authority over one another.
          Frontier considers "direct supervisory authority" to include situations
          where one individual has direct influence over another individual's
          employment through decisions, recommendations, or j udgment related
          to such matters as assessment of performance, work responsibilities,
          salary, career growth, or discipline.
           Frontier permits the employment of relatives or individuals involved in a
           personal relationship if their employment does not, in the opinion of the
           Senior Director of HR or the department head, create an actual,
           potential, or perceived conflict of interest. Employees who have relatives
           seeking employment at Frontier or who are involved in a dating or
           personal relationship with individuals seeking employment at Frontier,
           which may violate this policy, must disclose the relationship to the Vice
           President or Director in charge of the department and Human Resources.




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       Additionally, if an employee becomes related to another employee, or
       involved in a dating or personal relationship with another employee, and
       either employee has direct supervisory authority over the other, the
       relationship must be immediately reported to the Vice President or
       Director in charge of the department and to Human Resources.
       For the purpose of this guideline, a relative is defined as spouse,
       domestic partner (with an affidavit on file), parent, grandparent, child,
       grandchild, brother, sister, brother-in-law, sister-in-law, father-in-law,
       mother-in-law, stepparent, stepbrother, stepsister and stepchild.


       05.05.6 COMPANY PROPERTY AND VEHICLE USAGE
       Employees may not use Company equipment and tools for personal use.
       If you are authorized to operate a Frontier vehicle in the course of your
       assigned work, or if you operate your own vehicle in performing your job,
       you must adhere to the following rules:
       •   You must be a licensed driver in your state of residence or as
           required by your airport authority.
       •   Frontier provides insurance on Company vehicles; however, you will
           be considered completely responsible for your actions, including
           fines, moving or parking violations incurred.
       •   Persons unauthorized or not employed by Frontier cannot operate or
           ride in a Company vehicle.
       •   Prior to operation of any Company vehicl~e. your manager or
           designated person will train you on the appropriate steps to take if
           you are involved in an accident.
       •   We encourage you to keep the vehicle clean at all times and to wash
           and vacuum the vehicle as often as necessary. You will be
           reimbursed for your reasonable expense of keeping t he vehicle
           clean. Please retain any receipts for reimbursement.
       You may be excluded from driving a Company vehicle if you have had a
       major traffic violation within the last 5 years including:
       •   A DWI, drug violation or refusal to take a blood alcohol test;
       •   Excessive speeding (15mph above the speed limit);
       •   Reckless driving or racing;
       •   Ucense revocation or suspension;
       •   Leaving the scene of an accident;
       •   Any felony involving the use of an auto; or


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           •   More t han 2 moving violat ions (speeding, improper lane change,
               etc.).


           05.05.7 SMOKING ON COMPANY PREMISES
           Frontier is committed to providing its employees With a comfortable
           working environment. Due to the well-docu mented dangers of tobacco
           smoke, Frontier seeks to limit the usage of tobacco on its various
           premises. Employees are strongly encouraged not to smoke. All enclosed
           areas will be considered nonsmoking areas and all airport locations are
           subject to t he regulations put in place by airport authorities. Additionally,
           Frontier complies with the Colorado Clean Air Act and all other applicable
           state laws. Employees in Colorado are not permitted to smoke within a
           15-foot radius of designated entry ways.


           05.05.8 PERSONAL PROPERTY
          Frontier assumes no responsibility for the loss of or damage to an
          employee's personal property on Company premises or aircraft.
          Employees are responsible for securing their personal property and
          should not leave items unattended.


           05.05.9 PERFORMANCE REVIEWS
          Because it is important to have clear and consistent feedback given to
          you, it is our policy for supervisors to conduct pe.rformance reviews with
          you on a periodic basis. During the first nine (9) mont hs of the initial
          employment period, you may be subject to periodic informal reviews by
          your supervisor. Upon completion of your one (1) year anni versary you
          may receive a formal performance review. You may receive periodic
          performance reviews thereafter.


           05.05.10 BUSINESS ETHICS POLICY

          05.05.10.1. Access to Personnel Flies
           Personnel files are maintained on each employee. The purpose of a
           personnel file is to maintain an accurate record of each Employee's work
           history, current employment and benef it status with Frontier. Company
           forms, documents and correspondence relevant to an employee's status
           are maintained and protected in either a permanent file or electronically

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       stored within UltiPro. Each employee has the responsibility to ensure that
       their .records are current. Any updates or changes to the following should
       be entered into UltiPro by the employee within one business day:
       •   Name
       •   Address
       •   Telephone number
       •   Dependents
       •   Marital Status
       •   Beneficiary Information
       •   Medical, Dental Benefit Status (but not medical information)
       •   Contact in case of emergency
       •   Withholding tax information (W-4)
       All changes should be made online through the UltiPro system.
       All records maintained in the personnel files of employees are Frontier's
       property. Employees are allowed to review their own personnel file in the
       presence of a representative of the Human Resources Department. No
       employee may remove, machine copy or alter any documentat ion in their
       personnel file except as required by .applicable law. Upon request,
       Frontier will provide information to outside organizations about current
       and former Company employees. The information that Frontier will
       release is limited to dates of employment, job title and verification of
       wages. No other information is provided without written consent from the
       employee or as required by law.


       05.05.11 CONFIDENTIAL INFORMATION
       Frontier considers all non-public information about Frontier, and our
       employees to be highly confidential.
       •   Company information includes, but is not limited to operating.and
           financial information; compensation data; marketing strategies;
           pending proj ects and proposals; and operations or maintenance
           manuals.
       •   Empl·oyee information includes, but is not limited to employee and
           dependent names; employee and dependent addresses; employee
           and dependent phone numbers; employee and dependent social
           security numbers; employee and dependent dates of birth; any other
           personally identifiable information.




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          Individuals who manage or use this type of information are required by
          Frontier to protect this information from unauthorized modif.ication,
          disclosure, and destruction. The means of protection used shall be
          commensurate with the risk of exposure, the value of the information
          and the available computing resources. Employees are not authorized to
          gather, maintain, or disseminate personally identifiable information for
          any purpose or remove such information from Frontier's premises without
          written permission as permitted by applicable law, except when required
          for a business purpose or in the ordinary daily course of performing
          duties on behalf of Frontier. All requests to release such information
          must be directed to the Director or Vice President of the department or
          Human Resources. Personally identifiable information should not be
          transmitted to anyone outside Frontier without proper safeguards to
          protect the data duringtransit. Personally identifiable information should
          not be stored on an unencrypted laptop or on CD, DVD, memory stick, or
          any other form of portable media. Human Resources will take reasonable
          steps, in conjunction with technical assistance from Information
          Technology, to protect personal data from unauthorized access, including
          developing other personal identification methods and limiting access to
          such data to those employees with a business need to know. All
          departments maintaining paper or electronic personal data should follow
          similar protection procedures, including discontinuing the use or
          dissemination of social security number as an identifier on documents
          and reports. Social security number confidentiality will be maintained to
          the fullest extent required by law.


           05.05.12 GIFTS OR TIPS
           Approval from management is required before an employee may accept-a
           gift of any kind from a customer, supplier or vendor representative,
           unless the gift is valued at less than $50. The term "gift" in this policy is.
           used in its broadest sense and includes gifts, entertainment, services
           and favors. This policy is not intended to prohibit ordinary business
           entertainment or items representing reasonable Frontier advertising,
           publicity, or sales promotions. Accepting tips from customers is also
           prohibited. If a customer jnsists on tipping, you should graciously state
           you are happy to help, but t hat Frontier employees do not accept tips. If
           you are pressed to accept a tip, you should turn the money in to the
           general tip fund from which management pays for employee recognition
           and activities.



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       05.05.13 CONFLICT OF INTEREST
       A conf.lict of interest wi ll occur in situations where the personal interests
       of the employee conflict with their duties and responsibilities to Frontier.
       This includes an actual conflict or the appearance of a conflict of
       personal and business interests. You may not engage in outside business
       interests or employment including independent consulting services
       which compete with Frontier. Non-management positions with other
       airlines are generally not considered conflicts of interest. A conflict of
       interest t hat interferes with your Frontier responsibilities and dut ies or is
       detrimental to Front ier1s image or interest is not permitted. You are
       requi red to disclose all outside employment to your management.
       Approval from t he Chief Financial Officer (CFO) is required before an
       employee may buy stock or otherwise take an ownership interest in any
       private placement. Initial Public Offering (IPO) or pre-lPO of any Company
       that is or may become a supplier or vendor.


       05.05.14 CONFIDENTIAL INFORMATION AND INSIDER TRADING
       As an essential part of our work; we have access to a large amount of
       Frontier's operational, f inancial, and corporate information, some of it
       highly confidential and of considerable value to Frontier™. Each person
       who possesses or uses this confidential information holds a special
       position of trust and confidence. We have an important responsibility to
       keep this information          confidential until Frontier Corporate
       Communications makes it public via press release, conference call, the
       website, or through another public venue. This means you should not
       discuss this material information outside of work and should only discuss
       it at work when necessary. Please reference Media Contact and Official
       Statements on Behalf of Frontier, section 05.05.17 for further details.




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           We also have an important responsibility to avoid trading in Company
           stock before material information is disclosed to the public. Company
           policy is to publicly disclose material information on a prompt and timely
           basis in accordance with the federal securities laws. Trading in Company
           stock on the basis of material information before it is made public 'is not
           only against Frontier's policy, it is also illegal. This illegal insider trading
           can cause significant harm to Frontier's reputation for integrity and
           ethical conduct and result in significant liability for the individuals
           participating in the insider trading. Accordingly, all employees must
           comply with the procedures described in this policy. Individuals who fail
           to comply with this policy are subject to disciplinary action and potential
           violations of the federal securities laws.
           Under the federal securities laws, an employee who possesses material
           nonpublic information or uinside information" is an "insider." As an
           insider, you are subject to legal action if you buy or sell stock on the basis
           of this inside information. As an insider, you can also be subject to legal
           action if you cause others to buy or sell Company stock on the basis of
           this inside information. While it is impossible to label clearly what is
           inside information, some of the general areas include earnings or
           financial results, favorable or unfavorable business developments, labor
           negotiations, major new contracts, daily and month-to-date load factors,
           on-time performance, EarlyRetums® numbers, average fares, city
           opening plans, unusual gains or losses in major operations, major
           marketing changes, and significant capital investment plans.


           05.05.15 SOLICITATION
           Solicitation refers to the act of approaching another (in person, by mail,
           or through any electronic medium) with the intent to petition or request
           support (such as. monetary support or personal commitment).
             Example: Distribute literature, hold meetings, send electronic mail,
             conduct surveys, place receptacles for donations or communications,
             or post advertisements on bulletin boards on behalf of non-Frontier
             business enterprises.
           Solicitation in working areas during working times is prohibited unless
           prior authorization has been obtained from the Human Resources
           Department. In limited circumstances, approval for solicitation related to
           charitable events or organizations can be obtained. Examples include
           fund ra ising activities for employee hardship (applies to the employee
           and not the employee's family member). Authorization may also be given

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       to an organization with which Frontier has established a business-related
       partnership. All employee or vendor requests must be approved in
       advance by Frontier Human Resources.
       Working areas are any areas where employees conduct or may conduct
       work on behalf of Frontier and may include break rooms if work, such as
       briefings, is conducted there. All the crew lounges are considered work
       areas. Working time does not include such time as before or after work.
       breaks, or lunch periods. Nonemployees must not solicit or distribute
       merchandise or literature on Frontier's premises without approval from
       Human Resources.


       05.05.16 USE OF COMPANY LOGO AND NAME
       Frontier logos may not be used without prior written consent from
       Frontier's Marketing department. It is a violation of our agreement with
       Frontier's Airline Partners to use their names, logos, or its subsidiaries
       without prior written consent. All requests for the use of these names and
       logos should be directed to a Director or Vice President of the
       department for approval.


       05.05.17 MEDIA CONTACT AND OFFICIAL STATEMENTS ON
       BEHALF OF FRONTIER
       As a Frontier employee, you will likely have access to a significant amount
       of information about Frontier, because Frontier values open and honest
       communication with its employees. Frontier also values and works very
       hard to maintain an appropriate image within the aviation, business, and
       consumer markets via positive relationships wit h the media. Frontier
       employees must comply with certain disclosure laws and regulations.
       Accordingly, employees must obtain approval from Corporate
       Communications prior to speaking with the media about Frontier. These
       simple procedures allow Frontier to maintain its public image, provide a
       consistent and appropriate message to the media and general public,
       and ensure compliance with the disclosure laws and regulations. If you
       have any questions regarding media or external communications, please
       contact your department head and/or Corporate Communications at
       CorpCom m@flyfrontier.com.




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                                    COMPENSATION
                                                                             I
           06.05.1 PAY PERIOD
           Frontier operates on a bi-weekly pay system with twenty-six (26) pay
          periods a year. Generally, the pay period begins on Monday and ends on
          Sunday. Payday for most employees is the Thursday immediately
          following the day upon Which the pay period ends. Paychecks will be
          distributed so that they are available to employees on every other
          Thursday.

          06.05.1.1 Direct Deposit
          Direct payroll deposit is the automatic deposit of you·r pay into the
          financial institution account(s) of your choice. In addition, it may be
          possible for you to authorize Frontier to make additional deductions from
          your paycheck, such as for Christmas Clubs, credit union loan payments,
          or payroll savings plans. Employees may contact management, utilize
          Ultipro, or e-mail F9payroll@flvfrontier.com for details and the necessary
          authorization forms.




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       06.05.2 OVERTIME PAY

       06.05.2.1 Exempt (Salaried) Employees
       Exempt employees such as management and other administrative
       positions are paid on a salaried basis.
       Salaried employees are not eligible for overtime pay due to their exempt
       status under applicable law and do not receive "step" fncreases. Salaried
       employees are evaluated annually and may receive salary adjustments
       based on their performance and Frontier's current policies, All salary
       adjustments are at the discretion of Frontier. If a salary adjustment
       becomes effective during a pay period, it will become effective for the
       entire pay period.

       06.05.2.2 Non-Exempt (Hourly) Employees
       Non-exempt employees normally are classified as hourly and their pay is
       determined by either a pay structure (i.e., customer service agent,
       reservation agent, etc.) or a grade level. Many hourly job categories
       consist of a starting pay rate, a series of periodic pay increases or
       "steps/ and a maximum pay rate. If a ''step" increase becomes due
       during the pay period, it wi ll become effective for the entire pay period.
       No employee is allowed to be paid at an "off the scale" rate without the
       written authorization of the CFO or COO. Hourly pay scales are reviewed
       and may be adjusted at the discretion of Frontier. Hourly employees are
       eligible to receive overtime in accordance with applicable laws and
       Frontier policy.


       06.05.3 OVERTIME
       Sometimes business conditions and demands require that overtime be
       worked by employees. Employees will be given as much notice as
       possible when overtime will be required. However there will be times, due
       to operational requirements, that it will not be possible to give any notice
       prior to being required to work overtime.
       As permitted by the "air carrier exemption" to the Fair Labor Standards
       Aot, full-time and part time hourly employees overtime premium is paid at
       a rate equal to one and one-half (1 1/2) times the base rate of pay for
       each hour worked in excess of eighty (80) hours in any pay period.
       Managers and other overtime exempt personnel are paid on a salary
       basis.



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           Actual vacation time. sick time and bereavement/funeral pay will not be
           used in the calculation of overtime. At no time will an employee be paid
           at the overtime rate for time incurred because of a shift trade. All shift
           trades will be paid at the employee's regular rate of pay, unless the trade
           is a Company directive based on business demands. All overtime must
           be approved by the employee's Supervisor. For purposes of calculating
           overtime, the normal workweek begins at 12:01 a.m. on Monday and
           ends at 12:00 midnight on Sunday. Employees working in California are
           governed by t hat state's overtime rules: Please contact Human
           Resources or your manager for more information.

          06.05.3.1 Paycheck Errors
          Occasionally errors will occur in an employee's payroll check. If you think
          you have been paid incorrectly or an improper deduction was taken from
          your pay, contact your supervisor or manager immediately. The
          supervisor will investigate and resolve the issue with the Payroll
          Department. All paycheck errors must be reported on a Payroll
          Discrepancy form and signed by your supervisor. These forms must then
          be forwarded to the Payroll Department A paycheck cannot be initiated
          until the Payroll Department receives the Payroll Discrepancy form.
          Overpayments must be reported immediately by you to your supervisor or
          manager, and Payroll and will be corrected at that time, to the extent
          permitted by law. or on your next paycheck, or as otherwise allowed by
          law.

           06.05.3 .2 Hours of Work and Time Records
           We serve our customers every day of the year. Work schedules must
           provide adequate coverage each day of the week and in some
           departments, twenty-four (24) hours a day. Therefore, many employees
           will be assigned to a rotating shift and/or days off work schedule.

          06.05.3.3 Timekeeping Polley
          Federal and State regulations require Frontier to accurately record t ime
          worked for employees. As such, it is the responsibi lity of each employee
          to follow the approved timekeeping process utilized by their respective
          work-group. Failure to follow the applicable process may result in
          disciplinary action.
           Falsif.i cation or misrepresentation of time or attendance information is
           grounds for immediate termination of employment.




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       06.05.4 TRAINING AND TRAVEL TIME COMPENSATION

       At times, Frontier may require you to travel to different locations on
       company business or for job-related training. If you are traveling on
       company business (includes training), you will be paid at your straight
       time rate. As a guide, travel time will include one hour prior to a flight's
       scheduled departure. If a flight ls delayed or space avallable status
       requires taking another flight: you will be paid straight time for the
       additional time. This guideline applies to all non-exempt hourly
       employees.
       The overtime rate of one and one-half times your hourly rate will be paid
       only if actual work or work and training exceeds eighty (80) hours in any
       pay period for non-exempt employees. Travel time is not to be included ih
       the calculation of time worked for paying the overtime rate of one and
       one- half times your hourly rate.




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                                            BENEFITS
                                                                                   I
           This information is not intended to function as a Summary Plan
           Description (SPD). In preparing this information, we have tried to
           accurately summarize the provisions of our benefits plans in clear,
           understandable language. However, if there is any conflict between this
           information and the formal plan documents, the plan documents shall
           govern.
           Frontier provides a benefits program for eligible employees. In addition to
           receiving a salary and having an equal opportunity for professional
           development and advancement, you may be eligible to enjoy other
           benefits. Frontier also provides industry leading flight benefits (refer to
           Ultipro for Employee Travel PoUcies).


           07.05.1 ELIGIBILITY

           Eligibility for benefits is based on your job classification, full.-time (FT) or
           part-time (PT). More details regarding specific benefits coverage is
           available to you and your dependents as defined in the benefit summary
           plan descriptions (SPDs) that can be obtained from Human Resources or
           on Frontier's intranet.

           07.05.1.1 Medical, Dental, Vision Care Coverage
           Employees (including spouse, qualifying dependents and domestic
           partners) who meet the eligibility requirements may participate in
           Frontier 's health and welfare benefit programs. Frontier offers a
           comprehensive program that includes Medical, Dental and Vision
           coverage in addition to Short Term Disability and Company paid Life
           insurance. Frontier also offers various Flexible Spending Accounts. More
           detailed information can be found at www.myfrontier.org (UltiPro) or your
           Benefit Enrollment Guide.
           Frontier defines Domestic Partner as your lifetime partner of the same
           sex if the following criteria appl~
           •   Same sex couple that share common necessities of life
           •   Neither partner is legally married to someone else
           •   Partners are not related by blood
           •   Partners are at least 18 years of age
           •   Are each other's sole lifetime partner and intend to remain so


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       •   Are responsible for each other's common Welfare and financial
           obligations
       •   Have resided together for at least 12 consecutive months and will
           continue to reside together during period covered on benefits
       •   Have provided a notarized copy of an Affidavit, Declaration or
           Registration of Domestic Partnership that has been filed with
           appropriate County or State offices. If such document is not
           recognized in state of residence copies of at least 2 of the following
           must be provided:
                Deed showing joint ownership of property
               Joint credit cards
                Lease stating both partners' names as l.essees
               Joint checking
                Will which designates the other as primary beneficiary or grants
               them a durable power of attorney. For a domestic partner to be
               considered for coverage, a Domestic Partner Affidavit provided
                by Frontier must be completed and returned to the Benefits
                Department.
       Information on Company-sponsored benefit plans is outlined in
       respective plan summaries on UltiPro at www.myfrontier.org. Frontier
       reserves the right to modify or terminate, in whole or part any plan at any
       time. New employees may enroll in the health and welfare benefit
       program within 31 days of employment, and all employees may make
       health and welfare benefit plan elections during Open Enrollment each
       year. Otherwise, health and welfare benefit elections may not be changed
       during the year unless a Qualified Family Status Change (QFSC) has
       occurred and the employee requests the change through Frontier 's
       Benefits Department within 31 days of the qualifying event. Refer to the
       plan summaries or the Benefit Enrollment Guide for more information.

       07.05.1.2 Employee Assistance Program (EAP)
       The Employee Assistance Program is a no-cost, confidential assistance
       program available to you to help address the personal issues you and
       your dependents may be facing. Trained clinicians are available 24 hours
       a day, 7 days a week. Additionally, assistance is available for you or a
       member of your family who has questions concerning legal, family, or
       financial issues, child care, elder care, relationships, substance abuse or
       addiction questions and concerns, work-related issues and any mental
       health issue.




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           Confidentiality is one of the most important aspects of t his program. If
           you contact the Employee Assistance Program directly, no one in Frontier
           will know unless you tell them. No information concerning the nature of
           your problem will be released without your written consent, unless
           provided for by law.

           07.05.1.3 401(k) Plan
           EmpI·oyees Who meet the eligibility requirements may participate in
           Frontier's 401(k} Retirement Plan. More detailed information can be
           found on UltiPro at www.mytrontier.org. Eligible employees may enroll in
       I   the 401(k) plan at any time.


           07.05.2    PAID HOLIDAYS
           Frontier observes t he following holidays:
           •   New Year's Day
           •   Memorial Day
           •   Independence Day
           •   Labor pay
           •   Thanksgiving Day
           •   Friday following Thanksgiving
           •   Christmas Day
           Full-time hourly employees will receive 8 hours of Holiday Pay plus 1 1/2
           times their regular rate of pay for actual hours worked on the holiday.
           Part-time, hourly employees will receive 1 ½ times their regular rate of
           pay for actual hours worked on t he holiday and holiday pay at straight
           time for actual hours worked up to maximum of 8 hours.
           Salaried employees regularly scheduled to work a company observed
           holiday will receive an additional day off other t han the actual holiday
           (within 90 days). If this is not possible, t he employee wi ll receive an
           additional 8 hours holiday pay. In no circumstance will an employee be
           paid more than 8 hours. Salaried employees who are not scheduled to
           work on a holiday do not receive any additional holiday pay, but can take
           a deferred holiday (additional day off at the discretion of the manager). If
           Deferred Holidays are not taken, they are not paid out. Those who are
           part of an: employee group, such as management or office staff, not
           subject to shift work and rotating days off, will receive a day off with pay
           in observance of each holiday.



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       Part-time, hourly employees are not eligible for holiday pay if they do not
       work the holiday or if they work on a holiday as a result of a shift trade.
       To receive holiday pay, employees are required to work their last, ful l
       scheduled shift prior to the holiday, th·e1r full scheduled shift on the
       holiday itself, and their first, f ull scheduled shift after the holiday, except
       for authorized absences, such as vacation or leave of absence, that have
       been approved in advance by your manager. This rule applies should the
       holiday fall on the employee's scheduled day off or scheduled work day.
       Holiday pay will not be paid if the employee is on an approved unpaid
       leave for the entire workweek. If the employee calls in sick on the holiday,
       they are not eligible for holiday pay, only sick pay.


       07.05.3       VACATIONS
       In the year that the employee is hired, vacation hours will be awarded in
       the following manner, based on the quarter hired by Frontier:

       07.05.3.1 Vacation time:
   I          Full-time {Scheduled for and Work 30 Hours per Week)
         Years of Continuous Employment          Total Accrual Hours
           Less than one completed year            1st Quarter (Jan-Mar)=60
                                                   2nd Quarter (Apr-Jun)=40
                                                   3rd Quarter (Jul-Sep)=20
                                                   4th Quarter (Oct-Dec)=0
           One completed year, but less than       80 hours
           seven completed yea rs

           Note: If your seven (7) year anniversary falls July 1st or later, 80 hours
           will be awarded on January 1st.
           Seven (7) or more completed years      j 120 hours
           Note: If your seven (7) year anniversary is before July 1st, 120 hours
           will be awarded on January 1st.
               Part~time (Scheduled for and Work 16-29 Hours per Week)
            Years of Continuous Employment         Total Accrual Hours
           Less than one completed year            1st Quarter (Jan-Mar)=30
                                                   2nd Quarter (Apr-Jun)=20
                                                   3rd Quarter (Jul-Sep)=10
                                                   4t h Quarter (Oct-Dec)=0
           One or more completed years             40 hours
       •      Will be awarded each January 1st


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           •   Cannot be carried over from one year to the next
           •   Continues to be accrued during a leave of absence that is less than
               30 days. If a leave extends past 30 days, vacation will be pro-rated
               based on the length of the leave.
           Your vacation will be accrued during the year awarded. In the year in
           which you leave Frontier, the accrued vacation will be prorated and
           compared to the balance used. To the fullest extent permitted by
           applicable law, vacation hours used, but not accrued, will be deducted
           from your final paycheck. In the event you change status from part-time
           to full-time or full-time to part-time, there will be a reconciliation of
           accruals for vacation and sick hours based on the effective date of the
           change.
          On rare occasion, Frontier may request you cancel or postpone vacation
          because of operational requirements. If asked by Frontier to cancel
          scheduled vacation 60 days prior to the end of the year, you may be
          allowed and use the carry-over the scheduled vacation hours for a
          maximum of 90 days into the new year. You will not be able to cash in
          your vacation time for additional pay. The business reason for the carry-
          over must be documented in writing by your manager and approved by
          Human Resources. Vacation is paid at your regular base rate of pay at the
          time the vacation is used.
          Vacation peri.od will normally be weekly (/blocks'' and generally will
          consist of five (5) workdays. Employees may take vacation time· in
          increments of less than one week, provided it is approved by your
          manager. Requests should be in written form and approved by your
          manager. No compensatory time off (comp time) for salaried employees
          is allowed. Any time taken off during a two week pay period must be
          accounted for as either vacation or sick as applicable. The method of
          scheduling vacation period may vary from department to department.


           07.05.4 SICK LEAVE

           Sick leave is a form of ins1..1rance that accrues in an account and serves
           to protect you and your income in the event of an unexpected. non-work
           related illness, injury, accident, or prolonged medical condition that
           prevents you from working. It is advisable for all employees to make every
           effort to accumulate as much sick leave as possible to give themselves
           and their families the maximum protection available. Sick hours may be
           used only for the employee's own illness or for that of their immediate


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       family members. For the purpose of this family, "immediate family
       members" are defined as: spouse or domestic partner (provided an
       affidavit is on file with the company) and dependent children living in the
       same household. Sick leave is not another form of vacation, nor is it
       intended to give the employee paid t ime off for personal business or
       recreation. Abuse, including excessive use of sick leave, will lead to
       corrective action. An ·employee may be required to provide
       documentation from a healthcare provider in support of their need for
       sick leave.
       Employees who are unable to report to work due to illness or injury
       should notify their immediate supervisor at least two (2) hours prior to
       the start of each shift. The employee's immediate supervisor must also
       be contacted on each additional day of absence, except when the
       employee is on approved medical leave, family leave, short-term disability
       or leave associated Wit h a Worker's Compensation claim.
       A sick bank account is maintained for each regular employee and they
       are eligible to accrue sick time following the completion of six (6) months
       of employment_Sick hours are accrued and credited to the employee's
       account on the pay period following eligibility or their anniversary,
       according to the following schedule:
       The following guidelines exist regarding use of sick leave:
               Years of Service           Full-Time             Part-Time
                                         Employees              Employees
           Six Months or More        12 hours               6 hours
           Completion of First Year  24 hours               12 hours
           Completion of Second Year 40hours                20 hours
           Completion of Third Year  48 hours               24 hours
           Completion of Fourth Year 56 hours               28 hours
           Completion of Fifth Year  72 hours               36 hours
           and Every Year Thereafter
       •     Paid sick hours accrued are cumulative up to a maximum of 360
             hours for full-time employees and 180 hours for part-time.
       •     Employees classified as regular full-time and regular part-time are
             eligible to accrue sick leave.
       •     Scouts are not eligible for sick leave.
       •     All sick pay use remains subject to Supervisor approval and, upon
             request, doctor verification.



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           •   Accumulated sick hours in your account will not be paid upon
               termination of employment. Upon notification of resignation, either
               verbally or in writing, sick time may not be paid without medical
               documentation to support the absence.
           •   Sick leave will be paid at the employee's regular rate of pay without
               shift differential. Sick leave will not be included in the calculation of
               overtime.
           •   Sick leave may be used in minimum fncrements of one hour.
           •   Sick leave may not be used for planned doctor or dentist
               appointments. or preventative care appointments. However, sick
               leave may be used for an initial doctor or dentist appointment that is
               the result of an unexpected illness or injury. Scheduled follow-up
               visits may not be covered with sick leave.




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                                   LEAVES OF ABSENCE
                                                                               I
           Frontier recognizes there are unexpected circumstances that may require
           an employee to be absent from work for a period of time. To
           accommodate your needs, Frontier has the following leaves of absence
           types available for eligible employees (not including Scouts): FMLA
           Medical Leave, FMLA Family Leave, FMLA Military Caregiver Leave, FMLA
           Military Qualifying Exigency Leave, Non-FMLA Medical Leave, Personal
           Leave, Military Leave, Jury Duty Leave, and Bereavement Leave. Other
           types of leaves may be available under state law. Contact the Leave of
           Absence department for additional details.
           While on any type of leave in effect for 7 days or longer, travel privileges
           will be suspended for the duration of the leave. Exceptions to this policy
           will be considered on a case-by-case, individual basis. To request
           consideration of a travel request whi le on a leave in excess of 7 days,
           please contact the Leave of Absence Department (LOA@flyfrontier.com).
          If you are on any approved leave, your group medical, dental, vision, l[fe
          and disability insurance coverage continues under the same terms as if
          you continued to work for the first ninety (90) days of the absence from
          work. After 90 days, coverage will continue, if you elect; however.
          premium payments will be at full cost, paid by you. Coverage will not
          continue unless payment is made in a timely manner. You will be notified
          of the specific arrangements for maintaining coverage and making your
          share of premium payments at the time the leave is requested.
          Empl·oyees with an outstanding 401(k) loan will be required to continue
          loan payments while on a leave. If you no longer are receiving a
          paycheck, you should arrange repayment of the loan to Principal
          Financial by contacting them directly. You also may be eligible for a
          temporary suspension of loan repayments for a limited time while on
          medical leave. Please contact the Human Resources Benefits-
          Department for more information.
           Employees on a leave of absence should check with their manager and
           Human Resources to determine eltgibility for schedule bidding
           participation.




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       Employees may apply for FMLA or medical leave in association with their
       treatment for substance abuse. If this is the case, the application will be
       considereci self-disclosure and the employee made eligible for additional
       assistance - as outlined in Frontier's Drug and Alcohol-Free Policies and
       Regulations (Employee Assistance Following Self Disclosure). The
       employee's return to work will be governed by the policies and processes
       detailed in the same section .


       08.05.1 ELECTION DAY
       Since the polls are open for long periods, employees are encouraged to
       vote before or after regular working hours. Jf necessary, managers are
       authorized to grant a reasonable period of time, up to three (3)
       consecutive hours, during the workday to vote. Employees who do not
       have three (3) consecutive hours available during polling hours outside of
       their normal work schedule must request time off for voting in writing at
       least two (2) days in advance.


       08.05.2 JURY DUTY
       Frontier recognizes jury duty as a civil responsibility. Upon receipt of the
       jury summons, immediately present the summons or copy of the
       summons to your manager. Also provide the following:
       •   The date to report for jury duty
       •   The name and location of the court
       •   Approximate duration of j ury duty obligation, if known
       When released or excused early from jury duty during scheduled work
       hours, employees are expected to report for work. Employees that serve
       on jury duty will be paid regu lar straight time for all normally scheduled
       work hours up to two (2) weeks. Within 30 days of return from jury duty,
       management may request a court validated "Statement of Attendance"
       indicating the dates of attendance on jury d.uty. Failure to provide proof of
       attendance may result in corrective action and pay suspension.
       Employees who are required to appear in court for their own alleged
       violation or for personal reasons will not be compensated for any hours
       missed from work.




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           08.05.3 PERSONAL LEAVE

           Regular full- and part-time employees who have completed one year of
           service may apply for a personal leave of absence without pay. Requests
           for a personal leave of absence must be presented to your supervisor in
           writing no later than two (2) weeks in advance of the first day of the
           requested leave. Scouts are not eligible for a personal leave. Personal
           leave may not be granted for reasons such as taking other employment
           or taking an extended vacation. A personal leave of absence will be
           granted for a period not to exceed three (3) months, provided it does not
           create a hardship on the department or necessitate the hiring and
           training of a replacement. A personal leave of absence is granted at
           Frontier's discretion based on business needs. Employees may use any
           accrued vacat ion time while on a personal leave of absence.
           Siok time and vacation Will not accrue during a personal leave. An
           employee on approved Personal Leave will have his/her group medical,
           dental, vision, life and disability insurance coverage continued under the
           same terms as if the employee continued to work; however, the employee
           must make arrangements with Human Resources to pay the cost for
           these plans while on leave.


           08.05.4 FAMILY AND MEDICAL LEAVE

           08.05.4.1 Overview
           The Family and Medical Leave Act of 1993 (FMLA) allows eligible
           employees to take unpaid leave from their job for special family, military
           and medical situations, while protecting their jobs and health benefits
           while on leave. To be eligible for this leave, you, as the employee must
           meet the minimum eligibility requirements listed below.

           08.05.4.2 To Apply
           To apply for FMLA a request must be submitted to the Frontier Human
           Resources Leave Coordinator via e-mail at LOA@flyfrontier.com. Frontier
           requires medical certification supporting the need for the leave due to
           your own serious health condition or that affecting an immediate family
           member. If the leave is foreseeable, you must provide written notice of
           the need for FMLA leave 30 days before the anticipated leave and if the
           leave is due to an emergency or unforeseen circumstances, then you




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       must provide written notice of the need for FMLA leave as soon as
       practicable. Failure to return FMLA forms may result in the delay or denial
       of the leave. If you are on FMLA leave for your own serious health
       cond it ion, your are required to furnish a return to work notice from your
       physician to the Leave Coordinator prior to your return to work, unless the
       leave is intermittent, in which case, a return to work notice may be
       required only if Frontier has a significant safety concern.

       08.05.4.3 Basic Leave Entitlement
       Eligible employees may take up to 12 weeks of unpaid leave in a 12-
       month period, rolling backward from the date the leaves begins, FMLA
       may be granted for:
       •   The employee's own serious health condition (as defined below),
           which prevents the employee from being able to perform the
           functions of his or her job;
       •   Caring for the employee's spouse, child under 18 years of age (or
           older if disabled), domestic partner (provided an affidavit is on file),
           or parent with a serious health condition;
       •   The birth, adoption or foster care placement of a child, or the care of
           or bonding with a child, if leave is taken within the fi rst 12 months
           after birth or placement.

       08.0 5.4.4 Military Leave Entitlement
       Eligible employees with a spouse, son, daughter, or parent on active duty
       or call to active duty in a foreign country from the National Guard or
       Reserves may use their 12 week basic FMLA leave entitlement to
       address certain qualifying exigencies. Qualifying exigencies may include
       attending certain military events; arranging for alternative childcare;
       addressing certain financial and legal arrangements, attending certain
       counseling sessions, and attending post-deployment reintegration
       briefings. An employee taking leave for a qualifying exigency is limited to
       a total of 12 weeks in the rolling 12-month period for any combination of
       the basic reasons and the qualifying exigency. If the qualifying exigency
       leave qualifies for leave under state law, the leaves will run concurrently.
       Military Caregiver Leave permits you, if eligible, to take up to 26 weeks of
       leave during a single 12-month period to care for a covered service
       member who is your spouse, son, daughter, parent, or nearest blood
       relative ("next of kin"). A covered service member is a current member of
       the Armed Forces, including a member of the National Guard or
       Reserves, who has a serious injury or illness incurred in the line of active
       duty rendering him or her medically unfit to perform duties for which the

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           service member is undergoing medical treatment. recuperation, or
           therapy; is in outpatient status; or is on the temporary disability retired
           list A covered service member is also a "veteran" who is undergoing
           medical treatment. recuperation, or therapy, for a serious injury or illness
           and who was a member of the Armed Forces (including a member of the
           National Guard or Reserves) at any t ime during the period of 5 years
           preceding the date on which the veteran undergoes that medical
           treatment, recuperation , or therapy. A "veteran " is a person who served
           in the active military, naval, or air service and who was released or
           discharged under conditions that were not dishonorable. If you are taking
           leave to care of a covered service member you are limited to a total of 26
           weeks of feave for any combination of reasons covered by the FMLA in a
           single 12-month period.

           08.05.4.5 Qualifying Serious Health Conditions
           A serious health condition is an illness, injury, impairment, or physical or
           mental condition involving:
           •   An overnight stay in a hospital, hospice or residential medical care
               facility, including any period of incapacity and/or subsequent
               treatment;
           •   Inability to work for more than three (3) full consecutive days,
               treatment by a health care provider within seven (7) days of the first
               day of incapacity, and either:
               1.   1 or more additional treatments by a health care provider within
                    30 days of the first day of incapacity, or
               2. a regiment of treatment under the health care provider's
                    supervision;
           •   Pregnancy or prenatal care;
           •   A chronic condition that continues over an extended period of time,
               even if episodic in nature, and requires at least two (2) visits to a
               health care provider each year;
           •   A permanent or long-term condition for which treatment may not be
               effective, but for which the person is under the continuing
               supervision of a health care provider; or
           •   A condition requiring multiple treatments by a health care provider
               for restorative surgery after an accident or other injury or a condition
               that would likely result in a period of incapacity for at least three (3)
               days in the absence of medical treatment.




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       08.05.4.6 Measuring the 1.2-month Period
       The 12-month period during which qualified military caregiver leave may
       be taken is the 12-month period measured forward from the date the
       first FMLA leave began. However, the 12-month period during which any
       other form of FMLA leave may be taken is a rolling 12-month period,
       measured backward from the date the leave starts.

       08.05.4.7 Eligibility Requirements
       Employees may qualify for FMLA leave if they meet the following criteria:
       •      They have worked for Frontier for at least 12 months;
       •      They worked at least 1,250 hours in the 12 months prior to starting
              the leave; and
       •      They work at a site where there are at least 50 employees within a
              75-mile radius.
       Flight crewmembers are eligible for FMLA:
       1.     If they have worKed or been paid for 60% minimum guarar,tee in the
              preceding 12 months; and
       2. The employee has worked or been paid 504 hours (excluding
          personal commute time, or vacation. medical and sick leave).
       Spouses who are both employees of Frontier are limited to a combined
       total of 12 weeks (or 26 weeks for qualified military caregiver leave) in a
       12-month period, except that if the FMLA leave is for one of the spouse's
       or their child's serious health condition then each spouse may take up to
       12 weeks of FMLA leave in a 12•month period.
            NOTE: In cases where an employee is not eligible for FMLA, for
            example in a work location with fewer than 50 employees within a
            75-mile radius, the Company may consider alternative options for
            providing requested time off, with benefits similar to those offered
            underFMLA.
            NOTE: Approved time off the clock (TOG) will not be credited for
            purposes of FMLA eligibility.

       08.05.4.8 Use of FMLA Leave on an Intermittent Basis
       In certain instances, leave can be taken intermittently or on a reduced
       leave schedule. Employees must make reasonable efforts to schedule
       leave for planned medical treatment so as not to unduly disrupt the
       employer's operations.




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           Employees should note their work schedule remains their primary
           responsibility. Employees must adhere to Frontier's policy for reporting an
           absence, even when the intermittent leave has been approved. After
           reporting their absence, employees should send an e-mail to
           LOA@flyfrontier.com with their name, ID number, and the dates of their
           absence. This e-mail must be received as soon as practicable, usually
           the same day of the absence or the next day. Upon receipt the Leave of
           Absence Department will review the request for approval and submit
           notification to your appropriate management team.

           08.05.4.9 Employee Responsibilities
           When their need is foreseeable, employees must provide 30 days
           advance notice of the need to take FMLA leave. When a 30 day notice is
           not possible, the employee must provide notice as soon as practicable -
           usually the same day or day after learning of the need for leave - and
           must comply with Frontier's normal call-in procedures. An employee who
           fails to provide adequate notice of an unforeseeable leave and comply
           with call-in procedures may be denied such leave. In addition, any
           employee who fails to comply with Frontier's absence-reporting
           procedures may be subject to appropriate disciplinary action, up to and
           including termination of employment.
           Employees must provide sufficient information for Frontier to determine if
           the leave may qualify for FMLA protection and the anticipated timing and
           duration of the leave. Employees must inform Frontier if the requested
           leave is for a reason for which FMLA leave was previously taken or
           certified. Employees may be required to provide a certification and
           periodic recertification supporting the need for leave.
           All employees must provide a return to work notice from their physician
           prior to their anticipated return-to-work date from a continuous leave for
           their own serious health condition.
           Employees who are on FMLA leave are required to use banked sick time
           (to the extent the reason for the absence is covered by the Sick Leave
           Policy) and then accrued vacation time in conjunction with the FMLA
           leave. However, employees on FMLA leave may opt not to utilize accrued
           vacation t ime only 1f they are approved to receive Short rerm D1sab1lltY
           (STD) benefits. To ensure the preservation of their accrued vacation time,
           an employee in this situation must contact Frontier's Leave of Absence
           Department (LOA@flyfrontier.com) to inform them of the decision.




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       08.05.4.10 Benefits While on FMLA Leave
       All. deductions, such as medical, dental, vision, life insurance, health care
       flexible spending account coverage, and 401(k) will continue tor the time
       period that you are being paid from your accrued sick or vacation.
       When accrued sick and vacation days are exhausted, the balance of your
       leave will be unpaid and you must pay your premiums. Failure to do so
       will result in coverage lapsing under the terms of the plan.
       Employees who fail to return to work at the end of FMLA leave may be
       required to reimburse Frontier for the amount it paid for health insurance
       premiums during the leave. Vacation, sick time and other employment
       benefits do not accrue while the employee is on an approved leave.
       Holiday or funeral pay will not be granted during the leave. Company
       seniority and department seniority wi ll not be affected by the use of
       FMLA leave. Pass benefits are suspended for all leaves in excess of
       seven (7) days, unless an exception is granted in accordance with the
       pass policy.

       08.05.4.11 Return to Work
       Prior to returning to work, employees who are taking FMLA leave for their
       own serious health condition must provide a fitness for duty certification
       from a health care provider, certifying that the employee is able to
       perform the essential functions of his or her job. The employee's return to
       work may be delayed until such a certification is received.




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           08.05.5 MEDICAL LEAVE (WHEN NOT ELIGIBLE UNDER FMLA)
           Medical leaves are never guaranteed. If it is determined the leave may
           not be granted, your employment ls subject to termination. Regular full-
           time and part-time employees who have been employed by Frontier for at
           least 30 continuous days and who do not meet the eligibility
           requirements for FMLA may be provided a medical leave of absence for
           limited circumstances. Non-FMLA leave may be used only for the
          employee's own illness or injury. Employees classified as on-call, or scout
          are not eligible for a medical leave.
           For a medical leave to be granted, the following conditions must be met:
           •   The employee has completed 30 continuous days of employment
               with Frontier.
           •   For foreseeable absences, the employee must provide Frontier with
               at least 30 days notice. For unforeseeable absences, the employee
               must notify management as soon as possible of the need for
               medical leave.
           •   Management approves the leave prior to the start date.
           If a Non-FMLA leave cannot be granted, the employee Will have the
           opportunity to resign from Frontier.
          Frontier will require medical certification supporting the need for leave
          due to a serious health condition affecting an employee. When planning
          medical treatment, you must consult with your management and make a
          reasonable effort to schedule the leave so as not to unnecessarily
          disrupt operations, subject to the approval of the health care provider.
          Except in emergencies, you are required to give your management as
          much notice as possible when you plan to start your leave and when you
          plan to return from leave. Employees who are on medical leave are
          required to use banked sick time (to the extent the reason for the
          absence is covered by the sick leave policy) and then accrued vacation
          time in conjunction with the medical leave.




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       Seniority for pay and benefit purposes will continue to accrue for the
       duration of the approved leave. Company seniority will not be affected by
       taking a medical leave. Individual department policies or union contracts
       should be referenced with regard to departmental seniority. Pass
       benefits are suspended While on medical leave in excess of seven (7)
       days, unless an exception is granted in accordance with the pass policy. If
       you are enrolled at the time your leave begins, you may continue medical,
       dental, vision, life, health care flexible spending account coverage while
       you are on an approved medical leave; however, you must make
       arrangements with Human Resources to pay your share of the cost for
       these plans while you are on leave. Vacation, sick leave, and other
       employment benefits do not accrue while you are on an approved leave.


       08.05.6 MILITARY LEAVE
       Employees are granted unpaid military leaves of absence, subject to
       federal law. If you are a member of the U.S. Armed Forces or National
       Guard, you are granted an unpaid leave of absence when called for active
       duty or training. This time is granted in addition to your accrued vacation
       and sick time. However, if you desire to use your vacation time for this
       purpose, you may voluntarily do so if you make a request in writing to
       your management prior to the start of your leave. A copy of military orders
       or drill schedules may be faxed to the Human Resources Leave of
   I   Absence Department at 720-374-8013. Reinstatement from Military
       Leave shall be granted in accordance with state and federal laws.
       The period an individual has to make application for reemployment or
       report back to work after military service is based on time spent on
       military duty. For service of less than 31 days, the service member must
       return at the beginning of the next regularly scheduled Work period on
       the first day after release from service, taking into account safe travel
       home plus an eight-hour rest period. For service of more than 30 days
       but less than 181 days, the service member must submit an application
       for reemployment within 14 days of release from service. For service of
       more than 180 days, an application for reemployment must be submitted
       within 90 days of release from service.
       Contact Human Resources for detailed information regarding Military
       Leave.




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